296 F.2d 736
    Willie H. BISHOP et al.v.Donald Jack HOOVER.
    No. 6717.
    United States Court of Appeals Tenth Circuit.
    Sept. 28, 1961.
    
      Appeal from the United States District Court for the District of New Mexico.
      Teutsch &amp; Donnelly, Santa Fe, N.M., for appellants.
      Keleher &amp; McLeod and Russell Moore, Albuquerque, N.M., for appellee.
      Before MURRAH, Chief Judge, and PHILLIPS and HUXMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appeal dismissed on motion of appellants.
    
    